             Case 1:16-cv-00807-CKK Document 41 Filed 05/17/18 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                  )
WILLIAM JARTA HALL,                               )
                                                  )
Plaintiff,                                        )
                                                  )
v.                                                ) Case No.: 1:16-CV-00807 (CKK/RMM)
                                                  )
DISTRICT OF COLUMBIA, et al.,                     )
                                                  )
Defendants.                                       )
                                                  )


                           ORDER SETTING MEDIATION AND
                        ESTABLISHING MEDIATION PROCEDURES

        The above captioned case was referred to the undersigned by the Honorable Colleen
Kollar-Kotelly for mediation from May 3, 2018 through July 31, 2018. Order, ECF No. 40.
Accordingly, it is this ____
                        17th day of May, 2018, hereby
ORDERED:

     1. The lead attorney(s) for the parties shall appear before the undersigned for mediation
        on July 9, 2018, at 10:30 a.m., in Chambers (Room 2333).

     2. The parties and counsel shall comply with each of the following requirements:

     PARTICIPANTS IN MEDIATION: The lead attorney(s) for each party must attend the
     mediation. The parties shall attend the mediation, be available by telephone, or delegate
     settlement authority to counsel. At least two business days prior to the date of the scheduled
     mediation, counsel for each party shall advise the Court of the name, title, and contact
     information of each person who will be participating in the mediation on behalf of that party
     and designate which individuals will have settlement or negotiating authority; this
     information should be submitted by email addressed to
     Meriweather_Mediation@dcd.uscourts.gov and the subject line of the email should identify
     the case name and docket number.
      Case 1:16-cv-00807-CKK Document 41 Filed 05/17/18 Page 2 of 3



SETTLEMENT AUTHORITY: An individual with settlement authority should be present
at mediation. If circumstances arise that make it unlikely that counsel will be able to comply
with this requirement on the date set for mediation, counsel shall promptly notify Chambers
by telephone.

CONFIDENTIAL MEDIATION STATEMENTS: Counsel shall submit a confidential
mediation statement at least five business days prior to the mediation date. The confidential
mediation statements should be submitted by email addressed to
Meriweather_Mediation@dcd.uscourts.gov and the subject line of the email should identify
the case name and docket number. Confidential mediation statements should not exceed six
pages and should:
          briefly describe the circumstances that gave rise to the litigation and the
           claims or defenses being raised;
          candidly assess the strengths and weaknesses of the parties’ claims and
           defenses;
          identify the important factors (factual, legal, and/or practical) that counsel
           believes will affect whether the case may be settled;
          if discovery has not been completed, state whether the exchange of any
           documents or records prior to mediation would make the mediation session
           more productive and describe the nature of any such documents or records;
          describe the necessary terms in any settlement (i.e., scope of release, non-
           monetary relief, disposition of related proceedings, etc.); and
          describe the status of settlement negotiations including offers or demands
           that have been made.

RESCHEDULING MEDIATION: If any attorney or party is unavailable on the date and at
the time set for mediation, the attorney shall notify Chambers and the other attorney(s) in the
case as soon as possible. The attorney with the scheduling conflict shall bear the
responsibility of confirming a new date and time with the other attorneys and the Court. The
parties need not file a motion in order to change a mediation date; they may simply contact
Chambers if all parties consent to a date change.




                                              2
         Case 1:16-cv-00807-CKK Document 41 Filed 05/17/18 Page 3 of 3



   TRANSLATION OR SIGN LANGUAGE INTERPRETERS: In the event that a party
   requires sign language interpreting during mediation, the parties shall notify the Court of that
   request at least three weeks prior to the mediation. If the parties require any other language
   interpretation or translation services during the mediation, they are responsible for providing
   it themselves.

   CONTACTING CHAMBERS: If the parties have any questions about the mediation, they
   may contact Chambers at (202) 354-3270.


                                                                       Digitally signed by Robin M.
                                                                       Meriweather
                                                                       Date: 2018.05.17 15:43:19 -04'00'
Dated:   May 17, 2018
                                             ROBIN M. MERIWEATHER
                                             UNITED STATES MAGISTRATE JUDGE




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